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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA

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                              ) CRIMINAL FILE
 UNITED STATES OF AMERICA     ) NO. 12-CR-113 (ADM/FLN)
                              )
            vs.               )
                              ) Courtroom 13 West
 LEWIS PATE                   ) Wednesday, August 15, 2012
                              ) Minneapolis, Minnesota
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                         JURY TRIAL PROCEEDINGS


                                VOLUME III


               BEFORE THE HONORABLE ANN D. MONTGOMERY
                    UNITED STATES DISTRICT JUDGE
                             AND A JURY



 A P P E A R A N C E S:

 For the Government:       OFFICE OF THE U.S. ATTORNEY
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                                Assistant U.S. Attorney
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                           Minneapolis, Minnesota 55415


 For the Defendant:        OFFICE OF THE FEDERAL PUBLIC DEFENDER
                           By: DOUGLAS OLSON
                                Assistant Federal Defender
                           107 United States Courthouse
                           300 South Fourth Street
                           Minneapolis, Minnesota 55402


 Court Reporter:           TIMOTHY J. WILLETTE, RDR, CRR, CBC, CCP
                           Official Court Reporter - U.S.D.C.
                           1005 United States Courthouse
                           300 South Fourth Street
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 1           (9:30 a.m.)

 2                          P R O C E E D I N G S

 3                                IN OPEN COURT

 4           (Defendant present)

 5           (Without the jury)

 6                 THE COURT:    Good morning.    Please be seated.

 7                 The record should reflect we are outside the

 8     presence of the jury.

 9                 The evidence concluded yesterday in this matter.

10     Counsel should have both been provided a copy of the Court's

11     proposed set of jury instructions, which are 30 pages, 26 in

12     number.

13                 Forrest, we didn't talk about the special verdict

14     form, but it will be very straightforward, but we need to do

15     that.

16           (Discussion off the record between the Court and

17             clerk)

18                 THE COURT:    There are 24 instructions and I think

19     you would probably have 28 pages of instructions, is that

20     right?

21                 MR. PAULSEN:    Yeah, 28.

22                 THE COURT:    I have a couple other little things

23     that I add on that aren't in the standard set.

24                 Does the Government wish to note for the record

25     any objections to the Court's proposed instructions?



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 1                  MR. PAULSEN:   No, your Honor.       They're fine.

 2                  THE COURT:   All right.    Does the defense,

 3     Mr. Olson?

 4                  MR. OLSON:   No, your Honor.     They're fine.

 5                  THE COURT:   I think for purposes of the record we

 6     should indicate -- do you know the number of the instruction

 7     with regard to the --

 8                  THE CLERK:   Fourteen.

 9                  THE COURT:   Instruction No. 14 has the Court

10     giving the instruction with regard to the fact that Mr. Pate

11     did not testify and not to draw any inference from that, and

12     I take it that you affirmatively request that be included in

13     the set of instructions, Mr. Olson?

14                  MR. OLSON:   Yes.

15                  THE COURT:   All right.    So noted.

16                  We will draw up a special verdict form which will

17     simply say the count, guilty or not guilty, and make sure

18     you have an opportunity to see that.        Otherwise, I think

19     we're ready to begin arguments at 10:00 o'clock.

20                  MR. PAULSEN:   Right.    And there's a forfeiture

21     allegation in the indictment.        It's moot.    There's going to

22     be no claim to the gun, win or lose here.

23                  THE COURT:   All right.    Any other loose ends that

24     need to be addressed?

25                  MR. OLSON:   No, your Honor.



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 1                  THE COURT:   Okay.   We'll get going sharply at

 2     10:00 o'clock.     I don't know the status of the jury yet, but

 3     I've been hearing them come in, so I think we'll hopefully

 4     have everybody right at 10:00.

 5                  Thank you.   Court will be in recess till

 6     10:00 a.m.

 7           (Recess taken at 9:45 a.m.)

 8                                    * * * * *

 9           (10:06 a.m.)

10                                 IN OPEN COURT

11           (Jury enters)

12                  THE COURT:   Good morning.     Please be seated.

13                  As I told you when we adjourned yesterday, the

14     evidence in this case is completed.         We're going to begin

15     this morning with the closing arguments of counsel.             The

16     first argument will be given by Assistant United States

17     Attorney Jeffrey Paulsen on behalf of his client, the United

18     States.

19                  Mr. Paulsen?

20                       GOVERNMENT'S CLOSING ARGUMENT

21                  MR. PAULSEN:    As I told you when we started this

22     case on Monday, it's a simple case because there's just one

23     question you're going to have to decide:         Did the defendant

24     (indicating) on March 20, 2012 possess Government Exhibit 1,

25     the Enfield revolver.       That's the only issue, did he possess



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 1     it.    The question is not did he shoot the gun that day.       The

 2     question is not did he assault someone with the gun that

 3     day.    The question is not even where did he get the gun, who

 4     did get it from.     You're not going to have to answer those

 5     questions.    The only question you're going to have to answer

 6     is did he possess the gun on the day in question because

 7     that's what he's charged with, being a felon in possession

 8     of a firearm.

 9                  And Judge Montgomery is going to tell you that

10     there are three simple elements to that crime, three things

11     the Government has to prove beyond a reasonable doubt.

12                  The first one, that the defendant --

13                  THE COURT:   I guess we don't have the monitors on,

14     so let me get those on for you.

15            (Pause)

16                  THE COURT:   We set?   Thank you for letting me

17     know.

18                  MR. PAULSEN:   Three elements:     One, the defendant

19     on the day in question had been convicted of a crime

20     punishable by imprisonment for more than one year.

21                  She goes on to tell you:     "You are instructed that

22     the Government and Lewis Pate have agreed that Lewis Pate

23     has been convicted of a crime punishable by imprisonment for

24     more than one year under the laws of Minnesota, and you must

25     consider the first element as proven."



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 1                  And we'll come back to element two.

 2                  Element three, the firearm was transported across

 3     a state or international line at some time during or before

 4     the defendant's possession of it.        I don't think there's

 5     going to be any dispute about that.        You heard from the

 6     expert yesterday about how the gun was manufactured in

 7     England back in the pre-World War II era and ended up in

 8     Minnesota.    The judge is going to tell you that:        "If you

 9     have found beyond a reasonable doubt that the firearm in

10     question was manufactured in a state or country other than

11     Minnesota and that the defendant possessed that firearm in

12     the state of Minnesota, then you may, but are not required

13     to, find that it was transported across a state line."

14                  So, that leaves element two, the defendant

15     knowingly possessed a firearm, the one in question, on the

16     day in question.

17                  So how do we know he did that?      Well, some of the

18     best evidence comes out of his own mouth.

19                  There's a few things that we know right off the

20     bat.   We know that Mr. Pate was arrested inside of XXX

21     XXXXXXXX on the day in question.        We know that that gun,

22     Exhibit 1, was found inside of XXX XXXXXXXX on the day in

23     question.    And the evidence is going to show that I'm going

24     to go through in a minute that it is his gun, he admitted

25     it's his gun, and he knew that it was in XXX XXXXXXX.           So,



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 1     let's go through the evidence that shows those things.

 2                 First you have -- the first jail call was to that

 3     girlfriend Vanessa, and he tells Vanessa -- and this is at

 4     7:20 p.m.    He tells Vanessa:     "Well, I just need you to go

 5     over there and get my money."        And you know because you've

 6     heard these calls that "money" is code for "gun."          And whose

 7     money is it?     "My money," Mr. Pate says.      Not somebody

 8     else's money.     It's "my money."

 9                 And to make sure she understands what he's talking

10     about is not really money, he goes on to tell her:              "Yeah.

11     They tryin' to charge me wit' a firearm ....          You feel what

12     I'm sayin'?"     So, she gets it.     She knows he's talking about

13     a gun.

14                 And you know she knows -- you can tell she knows

15     he's talking about a gun, because later on in that same call

16     she says, talking in code:       "What happens when they find the

17     money?"    And she repeats the question:       "What happens if

18     they," meaning the police, find the, quote, unquote,

19     "money"?    He says:    "Nothin'."    Which prompts her to ask:

20     "Fingerprint?     Or clean?"    And Pate says:    "Clean."      Now,

21     you know they're talking not about money, because why would

22     anybody be worried about having their fingerprints on money,

23     so you know they're talking about a gun and it's Pate's gun,

24     Pate's gun, because he says:       "My money."    And that's not

25     the only time he'll say it.       He's going to say it to all



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 1     three people.

 2                  Next call was to Fabre, Fabre White, and remember

 3     she was someone that was at XXX XXXXXXXX.         She was the one

 4     at the front door with Amy, who didn't want the police to

 5     come in and were telling the police that, no, there's nobody

 6     in here but women and children.        There's no adult male in

 7     here.

 8                  But this is Government Exhibit 7.       That last one

 9     was Government Exhibit 6, but this is Government Exhibit 7

10     just a couple minutes later at 7:31 that night.

11                  And Mr. Pate is telling her:      "'Member when I was

12     in the bathroom, right?"       And she says:    "Yeah."   And then

13     he says:    "I need you to go get it."      So he's talking about

14     something he needs out of the bathroom and you know what

15     that is.

16                  That was a short call.     I think you might remember

17     it kind of got cut off, so we have another call right after

18     that one and he follows up with what he wants her to do.

19     This is Exhibit 8 now, just a few minutes later, and he's

20     telling her:     "Dude, just go back over there and go in the

21     bathroom."

22                  Then we go to Government Exhibit 9.       This one is

23     about a half hour later at 8:34 p.m.        And this is

24     interesting here before we get into the other part of it.

25     Here on the phone he's coaching her.        He's telling her what



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 1     to say if the police come and ask her what was going on.

 2     Because what he says is, he's telling her:         "[S]ee, I, I

 3     told them, like, man, bullshit, ain't about not'in'.

 4     Mo'fucker's bustin' at us, and we tried to run up in the

 5     crib, and dude was in the back.        You made it in the front,

 6     and I pulled off and seen the law (UI) down the street."

 7                  That's what he wants her to tell the police, but

 8     the problem is she says:       "Well, I'm not talkin' to nobody.

 9     I told them I don't know nothin' about nothin'."          So she's

10     already given a statement to the police where she says:           "I

11     don't know nothin' about nothin'."

12                  And here later on in that same call Mr. Pate is

13     obviously a little worried.       He says:    "You is my baby,

14     though.    Man, [] I know we gotta make it through this one,

15     'cause, uh, it might be a minute."        He says:    "It might be a

16     situation, though."      So he knows if they find the gun, he's

17     going to be in trouble and he's already kind of forewarning

18     her about that possibility.

19                  But he still doesn't realize that the police have

20     already gotten the gun in the search warrant, so he repeats

21     to her in the same call -- this is Government Exhibit 9, the

22     same call.    He says -- oh, talking about Chris, "my

23     brother," talking about Chris.       And Pate asks Fabre to call

24     him:   "And tell him what the f[] happened, man, and I need

25     my money out that f[]in' bathroom.        And so White then says:



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 1      [S]hould I ask Chris to ... get the money out o' there?"

 2      And Pate says:     "Yeah ....    I need that tonight, done

 3      tonight."

 4                   Remember, this is the call where Fabre, unlike the

 5      previous Vanessa, hasn't gotten it yet.        She thinks at this

 6      point Pate might really be talking about money, so she asks:

 7      "How much is in there?"      "Huh?"   She repeats:    "How much is

 8      in there?"    And you remember his voice on that call?           It's

 9      like he's rolling his eyes, practically, and going:             "Oh, my

10      god, dude."     "You're not listenin' [to me]."      And she says:

11      "I said how much is in the bathroom?"        And he goes:

12      "[Y]ou're not listening, though."        And then to make it real

13      clear what he's talking about:        "You know what they're

14      chargin' me for, right?"      And then she gets it.      "Yeah."

15      "Okay.     I'm listenin' now."   And once again he says:         "You

16      feel what I'm sayin'?"      Just like when he was getting the

17      message across to Vanessa about the gun?         "You feel what I'm

18      sayin'?"    Same thing here.

19                   And then, of course, you know he's talking about a

20      gun because he says:      "I need that up out o' there."         White

21      says:    "How you know they didn't find it?", referring to the

22      police.    And he says:    "'Cause I ain't got charged.         That's

23      how I know.     Or they would've brought that m[]f[] down here

24      with me."

25                   So, clearly talking about a gun, because if it's



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 1      money, you're not going to get charged; if it's a gun,

 2      you're going to get charged, and he thinks they haven't

 3      found it yet because I haven't been charged.

 4                  And then look at what he says here.       He finally

 5      realizes, yeah, "We're talkin' too much on the phone" and he

 6      ends the call.      Well, not before he tells her to try and do

 7      that right now, "right now."

 8                  I forgot to mention this.      You probably noticed it

 9      in that same call.     What does he say?     "I need my money out

10      of that f'in bathroom."      So again, just like Vanessa, he's

11      telling Fabre:      It's my money, my gun.

12                  Then the next call was with his brother Chris and

13      tells Chris the same thing.      This is Exhibit 10.      He says --

14      still using the pretext that it's money, tells Chris:

15      "Grab, grab my li'l change, man.       Put that shit up, and ask

16      Morgan where that other shit at."

17                  So he doesn't have to tell Chris to go in the

18      bathroom to find the gun, because he already did that once

19      before.   Remember on that squad video?

20                  Okay.    We're at 15:32 and 52 seconds right now.

21      Watch Pate's lips move in about six seconds.

22            (Videotape played)

23                  MR. PAULSEN:    He mouths the word "bathroom" to

24      Chris, who's right outside the squad car, and I'll back it

25      up so you can see it again.



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 1            (Videotape played)

 2                  MR. PAULSEN:    Then once again when he's talking to

 3      Chris, what does he say?      He says:    "Grab my li'l change."

 4      Not somebody's else's money or change, "my change."             He's

 5      told three people now that gun is my gun, Lewis Pate's gun.

 6                  And then, of course, the next day when he knows

 7      they found the gun he tells the police the same thing, "It's

 8      my gun," and they talk about the gun about three separate

 9      times in the transcript

10                  The first time is here.      Sgt. Benner, after

11      they've let Mr. Pate tell his version of what happened that

12      day out on the street, they've listened to him, and then

13      Sgt. Benner says:     "So, what about the gun?      Your DNA gonna

14      be on the gun that was in the house?"        At first Pate kind of

15      plays dumb and says:      "What gun?"    And Benner repeats the

16      question.    "You don't wanta talk about it, that's fine.          But

17      don't, don't," you know, meaning don't lie to me about it.

18                  So Pate starts talking about the gun.        He says --

19      first of all, after Benner talks about:        "Is it worth it to

20      have a running gun battle in the middle o' the city durin'

21      the day?"    Pate says:    "It ain't.    Then he says:    "But I

22      ain't shoot though.     I could've, but I ain't have it on me."

23      And he doesn't deny there's a gun that belongs to him.            He

24      just claims he didn't have it on him.        He goes on to say:

25      "I couldn't make it to it."      He says:    "Yeah, if I would've



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 1      had it on me, yeah, it pro'ly would've been a shoot-out.

 2      Pro'ly would've.     But I ain't shoot, though."

 3                  Then they talk about some other stuff for awhile

 4      and then they come back to the gun and Sgt. Benner says:

 5      "So, you wanta talk about the gun at all, where you got it

 6      from, where it came from?"      Pate says:    "Here we go with

 7      this shit, man," but then he answers the questions.             He

 8      says:   "[B]ased on where I got it from, bought it from

 9      somebody, but that was it."      "Price?"    Pate says:    "Think

10      for a hundred," hundred dollars.       Then they talk about what

11      caliber it is.     Pate claims he doesn't know what caliber it

12      is.   At the end he says:     "No.   I just bought that gun."

13                  And then finally at the end Pate's telling him --

14      this is right near the end.      He's saying:     "Tellin' y'all

15      right now, all right?      Old boy," meaning Paxton, "ain't got

16      not'in' to do with this.      Ain't nobody got not'in' to do

17      wit' it, besides Fam'," meaning the other guy shot at me.

18      "I could've shot back at him, but I didn't have it on me, on

19      some real shit.     If I'd've had it on me when he was in that

20      backyard, yeah, I'd've put that nigga dick in the dirt."

21                  So, he doesn't deny that was his gun.         He just

22      claims he didn't have it on him.

23                  And the point is that even under his version of

24      events, he's still guilty of what he's charged with, being a

25      felon in possession of a firearm.       Like I said at the



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 1      beginning, we don't have to prove that he had it out on the

 2      street, that he shot it at anybody.        We have to prove he

 3      possessed it that day and the evidence shows he did.            But

 4      even though it's not something we have to prove, let me

 5      address his version of events just briefly.

 6                  He says it was me and Fabre in a car and there was

 7      one person shooting at us while we were in a car.          Well,

 8      that's not consistent with the evidence you heard, the

 9      credible evidence you heard.       The first witness, Geovanny,

10      he said no.     There was three people on the street shooting

11      at each other.     There was no car involved, three people on

12      the street.

13                  And another thing that disproves Pate's version of

14      the events is, if there was one guy shooting at him while

15      he's in a car, why are there two different types of casings

16      found on Minnehaha Avenue?

17                  And the other reason you can tell that his version

18      of not having the gun on him and his version of the shooting

19      incident is not correct is just by the way he and Fabre

20      reacted.    I mean, supposedly, according to Mr. Pate, he and

21      Fabre have just been the victims of someone shooting at

22      them.   Okay.   How would a victim of a shooting react?         You

23      might call the police.      You might call 911.     What does Fabre

24      do?   You know, Fabre is a victim, just been shot at, and the

25      police are right there.      You'd think she'd say, "Hey, we



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 1      just got shot at."     What does she say?     She lies to the

 2      police.    "No, nobody in here but us women and children, no

 3      adult males in here.     No, no, you can't come in and look.

 4      You can't come in and look."       That's not the way a victim

 5      would react.    And the same goes for Mr. Pate.       I mean, if he

 6      were a victim, why is he hiding?       Why doesn't he come

 7      forward?

 8                   Now, granted, by the time he's had a chance to

 9      think up a story, he's got a story and he tells it to Fabre

10      on the phone.    "This is what I want you to tell them, you

11      know, if they come to talk to you.        Tell them that we were

12      the victims."    Okay, he's got a story, but even under his

13      story, keep in mind he's still guilty as charged of what

14      he's charged with.

15                   But does Mr. Pate have a motive to lie about

16      whether he had a gun on him when he was out on the street?

17      Well, of course he does.      He doesn't want to get charged

18      with aggravated assault.      That's what he's worried about.

19      That's why he asks, he asks at the start of that interview

20      with Sgt. Benner and Kylie Williamson, he says:          "Wait a

21      minute.    What am I charged with?"     And they tell him, "Well,

22      right now you're charged with aggravated assault."          So he

23      proceeds to tell them, "I didn't have a gun and I wasn't

24      shooting."    Well, of course.     He doesn't want to make

25      evidence against himself on the aggravated assault charge,



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 1      so he says, "I didn't have a gun.       I'm the victim."

 2                  So, when you consider his story, you have to

 3      consider his credibility, and what do we know about

 4      Mr. Pate's credibility?      Well, when he got caught, what's

 5      the first thing he did?      He lied to the cops three times.

 6      He lied about his name, he lied about his date of birth, and

 7      he falsely told Officer Nelson, "I've never been in

 8      trouble."     Well, you know that's not true.      He's got a prior

 9      felony conviction.     Plus, he had all those traffic warrants

10      that day, but he says, "I've never been in trouble."

11                  So, when you consider his version of what happened

12      that day, I think you have to take it with more than a grain

13      of salt, but what I'm telling you is, you can accept it all.

14      He's still guilty of what he's charged with, being a felon

15      in possession of a firearm, because when he was in XXX

16      XXXXXXXX with that gun, it was in his possession and

17      control.    And even if you believe his version that he didn't

18      have it on him, he was going there to try to get it, he'd

19      put it there earlier, he's still guilty as charged, because

20      the judge is going to tell you there's two types of

21      possession.    One type of possession is when you are actually

22      physically in possession of something, like money, okay?        I

23      got a couple dollars on me.      I'm in possession (indicating)

24      of this money.     I also have a bank account over at Wells

25      Fargo Bank, and I'm not physically in possession of that



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 1      money, but that's my money.      I own it and I can control it.

 2      That's called constructive possession.

 3                  So, even if you believe that Mr. Pate's out on the

 4      street, doesn't have his gun with him, his gun is back at

 5      XXX XXXXXXXX, it's okay.      It's his gun, he admits it, and

 6      he's in possession of it even though he's not physically

 7      touching it at that point

 8                  So, once again, there's three simple elements we

 9      have to prove.     Two of them are not in dispute.       The third

10      one, the evidence overwhelmingly shows he possessed the gun.

11      That's why I'm asking you to return a verdict of guilty on

12      the one-count indictment.

13                  THE COURT:   Thank you.    We'll proceed to the

14      argument of the defense as given on Mr. Pate's behalf by his

15      counsel, Mr. Douglas Olson.

16                  Mr. Olson?

17                         DEFENDANT'S CLOSING ARGUMENT

18                  MR. OLSON:   The Government did not prove beyond a

19      reasonable doubt that Lewis Pate possessed that .38 caliber

20      revolver that was discovered in the bathroom at XXX XXXXXXXX

21      on March 20th.

22                  The crime that's charged here is possession of the

23      gun.    It's not knowledge about the gun, it's not knowing

24      about the gun in the bathroom or even wanting it out of

25      here.   The question is whether the Government has proven,



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 1      presented proof beyond a reasonable doubt that he possessed

 2      that .38 caliber revolver on March 20th.         That's where the

 3      Government's proof fails.      Let's talk briefly about the

 4      facts.

 5                  The Government after going through a lot of

 6      commotion and trying to tell you that he's the shooter and

 7      presenting this and that has basically given up trying to

 8      prove that theory, but what we do know in terms of facts,

 9      we've got a statement to the police, we've got his phone

10      calls from the jail -- we'll get into that -- and we've got

11      the rest of the witnesses' testimony.

12                  But what we know at the end of the day is that

13      Mr. Pate entered XXX XXXXXXXX seconds or even

14      contemporaneously with the police being on the scene wearing

15      a white T-shirt, driving a car.       We finally established that

16      yesterday through the testimony of Mrs. Moua.         He pulls up

17      in a car, he's wearing a white T-shirt, he's not on his

18      feet, he's not wearing a hoodie, and he runs into the house,

19      and the police are there, they're on the scene.          So we're

20      talking about a guy going into a house a very short period

21      of time, and that's what the facts are.

22                  He's in the house a short period of time.           There's

23      no testimony, there's no witnesses here testifying that they

24      ever saw him with a gun inside or outside the house.

25      There's no forensic evidence tying him to that gun found in



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 1      the bathroom, not on the gun, not on the towel, not anywhere

 2      in the bathroom, not anywhere in the world of forensic

 3      since.    It doesn't exist.    There's nothing tying him to that

 4      gun, and that's the state of the facts.

 5                  And in addition, the idea that he's stashing this

 6      gun at XXX XXXXXXXX, that somehow he's converted a place,

 7      he's got -- there's no evidence he's got any connection.           He

 8      doesn't live there, it's not his place, and so somehow the

 9      Government wants you to believe that he's converted the

10      bathroom there into a stash house.        I mean, where's that

11      evidence?    Where's the evidence that he's got some

12      connection there, that he keeps his stuff there, that he's

13      got some goings-on there other than he ran into this place

14      and ran upstairs where he's found as the police arrive on

15      the doorstep?    Where's this evidence of him screwing around

16      and hiding this gun?     I mean, it just doesn't exist.         It's

17      not your duty or obligation -- it's actually contrary to

18      your duty or obligation just to fill in the facts for the

19      Government when they don't have facts to back up their

20      theory.   That's what they're asking you to do here.

21                  Now, I'm going to mention this, but I'll try and

22      be brief on it, because as Mr. Paulsen has said, I mean,

23      they've given up this idea of trying to prove -- I mean,

24      he's not charged with shooting the gun.        We all know that

25      and I know that, but they certainly presented evidence



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 1      concerning the shooting of the gun.        Oh, the gun didn't have

 2      the casings in it, doesn't match the casings, and they talk

 3      about what the witness Geovanny said and this and that and

 4      the other thing and they try and discredit his statement,

 5      but then they've given up the idea that they know -- they

 6      didn't attempt to prove that he was the shooter.          So what's

 7      all that about if it doesn't matter?        They throw it out

 8      there trying to suggest that, well, maybe he's the shooter.

 9      Maybe he's a bad guy, maybe he isn't, maybe whatnot, but I

10      say it's all thrown out there to kind of confuse the issues,

11      prejudice Mr. Pate, think, well, maybe he's the shooter,

12      maybe he's a bad guy, when they know if this was a case

13      trying to prove an aggravated assault and he was a shooter,

14      horrible job and at the end of the day they gave it up.

15                  And they could have -- if it was important to them

16      -- and you'd think it would be important to our Federal

17      Government.    They could have tried to prove that he was the

18      shooter.    Forensics, the gun shot residue test, the

19      sweatshirt.    We know that the shooter wasn't wearing a white

20      T-shirt.    He had on dark clothes, some kind of a dark hoodie

21      or something dark on him.      So why do they present this

22      evidence about this sweatshirt found behind the living room

23      couch before the window?      Why did they throw that out there

24      and why didn't we hear any talk about that?         It's because

25      there's nothing to it.      It's just a piece of evidence that



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 1      they throw out there just to confuse things.

 2                  But that sweatshirt, if it was important -- it was

 3      important enough to present it, it's in evidence.          If it was

 4      important enough to bring it to your attention, introduce it

 5      into evidence, where's the forensic follow-up?         They could

 6      have easily taken that in, taken hair samples and DNA off of

 7      that piece of clothing and determine whether it was

 8      Mr. Pate's or not.     Instead they just kind of throw it out

 9      there.   But we know the shooter had on dark clothes, he

10      wasn't wearing a white T-shirt, and they just gave it up.

11                  And as to the gunshot residue, they actually

12      tested it and then they called it off.        They took the

13      sample, didn't test it.      You could take the gunshot residue

14      off of his hands.     They did take samples off of the

15      sweatshirt, off of his T-shirt.       Where's that gunshot

16      residue evidence to prove that he was shooting a gun that

17      day?   And they just gave it up.

18                  They don't test the towel in the bathroom, the

19      towel.   They don't make any attempt to try to find any

20      forensic evidence out of the rest of the house.          It just

21      doesn't exist.     And so they did a miserable job proving that

22      he was the shooter.     And I agree that that's not the crime

23      charged here.     You kind of ask the question, well, what was

24      that all about?

25                  Now, the crime here charged is a crime of



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 1      possession.    The question is whether he possessed not some

 2      other gun, not some gun, but the .38 caliber Enfield

 3      British-made revolver found in the clothes basket on

 4      March 20th.

 5                   And there are two types of possession.       There's

 6      actual and constructive possession.        I'll get to

 7      constructive possession a little bit later on, but that's

 8      easily dispensed with.

 9                   But as to actual possession, the Government's

10      proof fails.    They got no witnesses that testified that he

11      had a gun.    They got no forensics.      No one inside the house

12      testified they saw him with a gun.        So what this really

13      leaves is these -- and what this case comes down to is the

14      question of the phone calls and then his statement to the

15      police.

16                   Now, these phone calls, if you break it down, they

17      establish that he knows about the gun in the bathroom and he

18      wants it out of there, but that doesn't establish that he

19      put it there or that he ever possessed that gun in the

20      bathroom.     It shows that he knows there's a gun in the

21      bathroom, he wants it out of there, and as I indicated in my

22      opening statement, he wants it out of there because he

23      doesn't want to get jammed up for a gun that wasn't his.

24                   And so he makes these series of calls and the

25      calls are what they are, all right?        Get it out of the



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 1      bathroom, even if he says, "Get my money," whatever.             He's

 2      just trying to get this thing out of the bathroom.          So we've

 3      established that he knows it's in the bathroom.          He wants it

 4      out of there.    But that doesn't establish possession and

 5      that he put it there, and that's what you have to find

 6      beyond a reasonable doubt to convict Mr. Pate here, is proof

 7      beyond a reasonable doubt that he put the gun in the

 8      bathroom and that he possessed it.

 9                  And I want to be clear.      I mean, simply knowing --

10      there's nothing significant about, I mean, the fact that

11      this involves a gun.     Knowing that there's a gun in a

12      bathroom in a house that you don't live at, don't have any

13      connection to, that's not a crime.        The crime is one of

14      possession.    I mean, we all know about -- you know, I know

15      people that have guns in their house.        I don't possess them.

16      Knowing that there's a gun in a house, even if I want it out

17      of there, doesn't make you guilty of possessing it.             All it

18      means is that you have knowledge of the gun being there, but

19      it doesn't establish possession in any way, shape or form.

20      So I got to stress that just knowing that there's a gun in

21      the bathroom and wanting it out of there doesn't establish

22      possession.

23                  So, those calls really don't carry the day here.

24      They don't establish proof beyond a reasonable doubt that he

25      put the gun there.     There's nothing in there about him



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 1      putting the gun in the bathroom, putting it in the clothes

 2      hamper.   There's nothing about how, where, why it happened

 3      to end up there other than he knows about it, and that's the

 4      state of the evidence and it's not up to you to fill in the

 5      gaps.

 6                  Which then leads us to his so-called confession,

 7      his 45-minute statement to the police.        This 45-minute

 8      statement to the police starts out, you know, he's a suspect

 9      in this ag assault.     The police officer comes down and wants

10      to talk with him about what happened with the shooting and

11      they spend -- of the 45 minutes, it's 40 or so minutes

12      before there's even mention of a gun.

13                  And what does he say at the end of the day?           He

14      says, "I never possessed it, never had it."         He's also

15      honest enough to say that, "Maybe if I'd had a gun I might

16      have used it," but he never possessed the gun.

17                  And when it comes down to the critical fabric of

18      that statement, the officer finally, page 59 -- they'd been

19      kind of dancing around about this and then he says:             "All

20      right.    So, you wanta talk about the gun at all, where you

21      got it from, where it came from?"       Mr. Pate:    "Here we go

22      with this shit, man, based on where I got it from, bought it

23      from somebody, but that was it."       And the officer says:

24      "Hundred dollars?"     Pate mimics him:     "Think for a hundred."

25      And listen to it.     "Hundred dollars?"     He just says:       "Think



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 1      for a hundred."     He says:   "Based on where I got it from,

 2      bought it from somebody, but that was it."         That's as much

 3      detail as you can get out of Mr. Pate.         "Got it from

 4      somebody."    He says:   "A hundred dollars?"      "Yeah, I think

 5      for a hundred," and then he can't even tell what caliber of

 6      gun this is or any other information about this gun.            Then

 7      he says:    "I just bought that gun."

 8                   And when you break it down, that's really what

 9      this supposedly reliable statement is that the Government is

10      hanging its hat on to bridge the gap to prove beyond a

11      reasonable doubt that that was his gun and that he put it in

12      the bathroom.

13                   And where is the follow-up questions of Mr. Pate?

14      Where's the questions about:       "Okay.   When did you put it in

15      the bathroom?     Is this your stash house?      Did you dump it

16      off there on the day?      How did you get it in the bathroom?"

17      Where's any questioning about that?         Where's the where, the

18      when and the how.     Where's the simple follow-up questioning

19      that any police officer would naturally follow up and lead

20      into wanting to find out if this information is really

21      accurate, reliable, and can you depend on it.         No.     And it's

22      this gotcha moment at the tail end of this 45-minute

23      discussion where he gets him to say something about a gun.

24      Doesn't ask him about the .38 caliber gun in the bathroom in

25      the clothes basket, a simple question:         "How did it get in



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 1      the clothes basket?     Are we talking about the same thing?"

 2                  And it's a simple, simple thing for a police

 3      officer when you take a statement -- and it doesn't matter

 4      if it's a suspect, a person in custody or a witness on the

 5      street.   You want to get some details and you want to follow

 6      up and make sure your information is accurate and reliable

 7      and you're all on the same page.       And you've got a

 8      24-year-old young man.      He's in custody.     He's talking with

 9      this experienced 20-plus-year veteran police officer going

10      around in circles.     He's trying to explain to him about how

11      he's being shot at that day, and that's one thing he was

12      consistent about right to the tail end.        "I was being shot

13      at.   I didn't have a gun.     I didn't shoot at anybody."      You

14      can listen to that and that's believable.

15                  And so finally at the tail end of this thing he

16      gives him this vague, completely undetailed:         "All right.

17      "The gun," "gun," "hundred bucks," "got it from somebody,"

18      "don't know the caliber," "just got it," and that's about

19      it.

20                  And if you as jurors are being asked to rely on

21      this to really bridge the gap to convict Mr. Pate for

22      possession of that gun, proof beyond a reasonable doubt,

23      you're entitled to have some level of detail such that you

24      can determine that this is accurate, credible and reliable,

25      and there's absolutely no effort by the police officer at



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 1      all.    And they say, well, yeah, what's the point at that

 2      point in time, you know?      Well, I know what the point is at

 3      the time.    It's the gotcha principle.      He's gotcha, all

 4      right?    So then he just moves on.     He doesn't care.        He

 5      doesn't want to do any follow-up, because that's easy.               I

 6      mean, that's easy.     Well, easy isn't good police work and

 7      it's certainly not easy on you as jurors trying to evaluate

 8      the credibility and reliability of that.         But even though he

 9      says he had a gun, hundred bucks, got it from somebody,

10      don't know the caliber, just got it, it ain't a confession.

11      It's not a confession to possessing that gun in the clothes

12      basket at XXX XXXXXXXX.      I don't want you to read that in

13      there and just assume, well, we're all talking about the

14      same page and make sure that, you know, Mr. Pate was talking

15      about the same thing and that he's really giving a reliable

16      statement.    Well, it's just not there.      You shouldn't read

17      into it for the Government.

18                   And police statements in custody can be

19      intimidating situations and a person might just say

20      something to appease the officer and exactly what Mr. Pate

21      ends up telling the officer.       I mean, you can read right

22      into it, you can listen to it.       He's going along with it and

23      says:    "Yeah, yeah, yeah."    Then he goes right back to it

24      and he says:    "Listen, I didn't have the gun, all right?               I

25      didn't have the gun.     I didn't possess it."      Maybe he wanted



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 1      it, he wanted to get to it, but he never possessed the gun

 2      on March 20th, and that's the case here and that's the rub

 3      here.   And you can tell that he gets mad, he's frustrated,

 4      and he's telling the officer, which he's been telling him

 5      for most of the 40 minutes, that he never had the gun, never

 6      possessed it even if he wanted it.        Never got it.

 7      Everything might be different.       But it's no confession to

 8      possessing the gun on March 20th, the one in the bathroom.

 9      It's just not there.     Listen to his words.

10                  And at the end of the day he says:       "Well" -- you

11      can tell it doesn't seem to matter to him, because he tells

12      the cop:    "Well, I'm going on a probation violation anyhow,"

13      so he's just eating the gun.       Maybe he doesn't want to get

14      anybody else in trouble.      He puts it right in there to the

15      cop.    He says:   "Well, it doesn't matter, you know, I'm kind

16      of toast anyhow."     So he explains why he would give this

17      undetailed and rather unremarkable statement to a police

18      officer, and then he goes back and says:         "Didn't have the

19      gun, didn't shoot anybody," right up to the end, which

20      incidentally is the very first thing that he reported to

21      police when the police came by him.        He did report to the

22      police.    He came down the stairs and said, "I'm the one

23      being shot at" and they arrest him.        That was his police

24      report and where did that get him?        Handcuffs and brought

25      down to the police station.



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 1                  I'm just going to talk for a second about this

 2      constructive possession doctrine, because really what the

 3      Government has really been aiming at is that, you know, the

 4      gun in the clothes basket is his and he put it there, okay?

 5      But there is this doctrine of constructive possession and

 6      you're going to get the instruction from the Court.             If you

 7      have direct physical control, that's actual possession and

 8      we know what that is.      But:   "A person who, although not in

 9      actual possession, has both the power and the intention at a

10      given time to exercise dominion or control over a thing,

11      either directly or through another person or persons, is

12      then in constructive possession of it."

13                  All right.   The person -- if you don't actually

14      have it to be in constructive possession, that means you

15      have to have the power at a given time to exercise control

16      over it, and there's absolutely no evidence at all that he

17      had the power to exercise control over the gun that was

18      found in the bathroom at XXX XXXXXXXX.        So don't make the

19      mistake of thinking because he's making phone calls from the

20      police station later on, he's trying to get this gun out of

21      the bathroom, that that's constructive possession.          He

22      doesn't have power over that gun.       I mean, he doesn't even

23      call the occupants of the house.       He's got no connection to

24      this house.    He's calling outsiders trying to get to

25      something that they clearly can't get to, so he doesn't have



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 1      any power to exercise control over this.         That's certainly

 2      true when he's at the police station, so don't make that

 3      mistake.

 4                   And then this idea that somehow he's got the gun

 5      stashed in the bathroom and that he's trying -- he's saying,

 6      "I'm trying to get to it," now, where is that evidence that

 7      this is his stash house or that he's got enough connection

 8      to XXX XXXXXXXX or he's running down there to get his gun

 9      out of the bathroom.     Where's the evidence that he's got

10      power or control over XXX XXXXXXXX?        I mean, it just doesn't

11      exist.     There isn't any evidence about that, so you can't

12      fill in that gap.     So this constructive possession case is

13      really thin to non-existent.       The question is whether he put

14      the gun in the clothes basket and that's the evidence which

15      is missing here and certainly not proof beyond a reasonable

16      doubt.

17                   Now, there's a fairly simple scenario here that

18      would account for Mr. Pate knowing about the gun in the

19      clothes basket and wanting it out of there so he doesn't get

20      jammed up with it without it being in his possession or his

21      gun.   And I want to be clear about something, is that -- and

22      you get several instructions about this.         The defense has no

23      burden of proof here, we don't have to prove anything, and

24      that's just a fundamental constitutional principle.

25                   But it's easy to figure out scenarios by which



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 1      Mr. Pate would know that there's a gun in the bathroom.

 2      Maybe he just knows that the occupants of XXX XXXXXXXX keep

 3      a gun in the bathroom.

 4                   Maybe in the brief moments that he's running into

 5      XXX XXXXXXXX from the back door and then to the upstairs

 6      while the police are coming in he sees something.          He sees

 7      somebody stash a gun in the bathroom.        That's hardly

 8      outrageous.    Maybe while he's in there these brief moments

 9      while somebody's knocking on the door somebody tells him,

10      you know, "Lewis, you got a problem in the house because

11      there's a gun in the bathroom."       Somebody tells him.       There

12      are other people in the house.

13                   These are all valid, sensible scenarios which

14      could account for him knowing about the gun without having

15      to have ever possessed it or put it there.         I mean, this is

16      a place that certainly could have had a gun somewhere in the

17      house.

18                   But once again, I want to stress that you can't

19      then turn this around and say, well, you know, Mr. Pate

20      didn't testify.     They didn't prove the state of his

21      knowledge.    We don't have to prove anything.       They got to

22      prove their case beyond a reasonable doubt.         They got to

23      prove that his phone calls demonstrate that he knew the gun

24      was there and he put it there, that he possessed it.

25                   And so I suggest to you that he could have known



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 1      that there was a gun in the bathroom from several scenarios,

 2      from somebody seeing it, somebody telling him.         And this

 3      certainly is a house where finding -- this isn't a house

 4      where it would seem to be outrageous or remarkable that

 5      there might be a gun in the house.

 6                   You know, we heard the testimony from police

 7      officers about this being a problem, trouble house, police

 8      calls, a lot of activity.

 9                   We've got this whole piece about this Leon thing,

10      this Leon guy, his association with the house.

11                   We've got the daughter Morgan, 17-year-old problem

12      child, who's got shotgun shells inside a sock, inside a

13      sock, inside a storage container up in her bedroom, and

14      what's this 17-year-old doing with shotgun shells being

15      stashed up in her bedroom?       What's that all about?     Where's

16      that follow-up investigation?       So what's going on with

17      Morgan and her problems?

18                   And ask yourself:    Why is a federal ATF agent,

19      Agent Williamson, going down to interview this teenager in

20      the middle of the afternoon with a St. Paul police officer,

21      an ATF agent going to the house in the middle of the

22      afternoon?

23                   So, this is a trouble house where they may just

24      happen to have a gun and it may have ended up in the

25      bathroom and Mr. Pate may have found out about it by the



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 1      time he's at the police station.

 2                   Neighbor Moua testified:     Scared of the occupants

 3      of the house, problems with the house.

 4                   And then consider that when Mr. Pate is arrested,

 5      they put Amy Navarro, the adult living in the house, in the

 6      back of the squad car with him and they drive the two of

 7      them down to the police station together.         Might she have

 8      said something to him?

 9                   So, it's very plausible that he could have found

10      out about a gun in the bathroom from a number of manners and

11      that he was concerned about it enough that by the time he

12      gets down to the jail he's foolishly making these phone

13      calls which are obviously being recorded, but that is what

14      it is.   But again, that doesn't prove that just because he's

15      got the knowledge that he put the bullets -- that he put the

16      gun there or that he ever possessed it.

17                   Now, I will finish up here shortly, but I've got

18      to talk about a couple of important constitutional

19      considerations for you as jurors to take into account.

20                   Really, the bedrock of our criminal justice system

21      is the jury system and we trust jurors to make the correct

22      decisions.    When we put a citizen on trial in this country,

23      we don't let prosecutors, police officers or even judges

24      make those decisions.      We ask jurors to come in, take a look

25      at the evidence, and we ask the jurors because of the



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 1      instructions to remain skeptical, be thorough, and do not

 2      convict a person unless the Government has proved its case

 3      beyond a reasonable doubt, and that's fair.         I mean, that's

 4      the way the system works and it's a good system, and we

 5      trust jurors and we trust your collective wisdom.          But when

 6      the Government fails in its proof, you shouldn't hesitate to

 7      return a verdict of not guilty and you should never fill in

 8      the gaps for them when they leave questions and reasonable

 9      doubts in a case.

10                   Mr. Pate starts off with the presumption of

11      innocence.    The presumption of innocence is in conjunction

12      with the necessity of convicting only with proof beyond a

13      reasonable doubt really two of the most important

14      constitutional individual rights that we hold, and that

15      means that you as jurors kind of have to live up to your

16      duty, which you all will, and you have to presume Mr. Pate

17      innocent.    And that means that just because he's brought

18      into trial and it's the Federal Government, they got an

19      indictment, that you're not going to hold that against him,

20      and you're going to presume him innocent until and unless

21      the Government proves its case beyond a reasonable doubt.

22      And that means when you're evaluating the evidence, it's

23      fair to say, well, yeah, but what about the presumption of

24      innocence?    Well, he made phone calls, but, you know,

25      presumption of innocence.      Maybe he just knew about it but



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 1      didn't possess it.     You got to apply the presumption of

 2      innocence.    You've got to give it some life, life in your

 3      deliberations.

 4                   And one way to think about the presumption of

 5      innocence, it's a big shield which protects us as citizens

 6      against the Government.      And the Government, you know, they

 7      present evidence and they chip at the shield and they break

 8      off part of the shield and they chip and they do this, but

 9      as long as there's any little part of that presumption of

10      innocence left, then you must find the defendant not guilty.

11                   And what all this means is that the Government, to

12      present a case with proof beyond a reasonable doubt, they

13      got to shatter that shield.      They got to blow it up.

14      They've got to overwhelm you with evidence.         They've got to

15      drive it home so that you as jurors, you don't have second

16      thoughts.

17                   This is one of the most important decisions you're

18      going to ever make, certainly the most important decision

19      anyone's going to make on behalf of Mr. Pate.         You don't get

20      a chance to second-guess.      You can't call up next week and

21      say, "Well, you know, I've been thinking about it.          Maybe

22      there is something to that.      Maybe they didn't prove the

23      case beyond a reasonable doubt."       You got one shot at it.

24      You don't fill in the gaps for the Government.         It's one of

25      the most important decisions you're ever going to make here.



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 1                  And that's why proof beyond a reasonable doubt, in

 2      a sense it protects you, because you should never have

 3      second thoughts.     If you've got second thoughts, that's

 4      reasonable doubt, not guilty.       Simple as that.    It's for

 5      your protection so that you don't have to question.             And any

 6      time a jury returns a verdict of not guilty, you ought to

 7      feel good about it.     The Government didn't present their

 8      case.    The contrary is true.     If you start cutting gaps for

 9      the Government, cutting corners, filling in the evidence for

10      them when they didn't prove the case beyond a reasonable

11      doubt, the whole system suffers.

12                  Proof beyond a reasonable doubt, it is what it

13      sounds like, that you got -- it's beyond a reasonable doubt.

14      It's not up to the threshold, it's not close to it.             They

15      got to take you over and beyond a reasonable doubt.             Get all

16      the reasonable doubt out of the way so that you don't have

17      any second-guessing.

18                  And I akin this sometimes to a guy who's in charge

19      of setting up the safety netting on a skyrise development,

20      and they're building and he's got to put the safety nets up

21      there.    Well, that guy in charge of the safety nets, he's

22      going to put the safety nets up there and he's going to

23      double-check them, he's going to triple-check them, and he's

24      going to back them up with a secondary device if the first

25      one fails, because people are going to die if they fall off



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 1      a skyrise into the safety net.       Then you're going to throw

 2      some stuff into the safety net and you're going to jump into

 3      it yourself.    So you're going to have that satisfaction of

 4      looking at the evidence beyond a reasonable doubt to make

 5      sure you're not making a mistake, and that's really what

 6      it's about.    The Government's supposed to overwhelm you with

 7      evidence and not leave any doubt and there's doubt left in

 8      this case.

 9                   Before I sit down here -- I mean, there's a few

10      things that I didn't touch on here and I'll -- you know,

11      this whole squad video where his identity is -- maybe he's

12      playing games with Officer Nelson, whatever.         He says:

13      "Talk to my brother.     Talk to this other officer."       That's a

14      side show.    I mean, that's really got nothing to do with it

15      here.

16                   And this bit of you being asked to be mouth

17      readers, you know, give it what weight you want, but it is

18      what it is.    But there's certainly things like that and

19      other issues that I didn't touch upon, but you're all

20      reasonable, you can understand what my position would be on

21      it.

22                   So, I sit down, I don't get the last word, but if

23      there's anything I haven't touched upon, it's not that I

24      didn't think it was important.       It's just that I can't talk

25      forever up here.     So there's a few things that I didn't



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 1      mention, but you know what our position is going to be on

 2      these things and I'd ask that you just be, you know,

 3      reasonable when you consider these things because I don't

 4      get the last word in here.

 5                  But at the end of the day there's a very simple

 6      explanation for what took place with Mr. Pate and he gets

 7      jammed up for a shooting that he wasn't involved in.            He

 8      tells the police that right away.       He ends up at the police

 9      station.    He's desperate because he knows there's a gun in

10      the bathroom.    He wants to get it out of there.        He makes

11      these calls to get it out of there, not because he possessed

12      it, not because it was his, but because he knows he's going

13      to get jammed up with it, which is exactly what's taking

14      place here.    Then he goes down the next day and he's, you

15      know, 40 minutes into explaining to this officer what

16      happened and he gets frustrated and he makes a few

17      unremarkable, undetailed statements, but he insists he

18      didn't have a gun, didn't possess it, didn't get to it,

19      didn't use it, consistently.

20                  The Government hasn't proven this simple scenario,

21      his statement just at the tail end of getting through it for

22      the day and just thinking he was going to take the heat for

23      something that wasn't his.      It's certainly not a confession

24      to this .38 caliber gun and the lack of detail is only the

25      responsibility of the police officers.        You shouldn't be



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 1      filling in for them.

 2                  The Government didn't prove its case beyond a

 3      reasonable doubt and therefore I'm going to ask that you

 4      return a verdict of not guilty.

 5                  Thank you.

 6                  THE COURT:    Because the prosecution has the burden

 7      of proof, they have the opportunity for the final word, so

 8      we'll hear from Mr. Paulsen by way of a brief rebuttal

 9      argument.

10                   GOVERNMENT'S CLOSING ARGUMENT IN REBUTTAL

11                  MR. PAULSEN:    Well, defense counsel is doing his

12      job and he tells you to discount the jail calls because it's

13      hypothetically possible that Mr. Pate is talking about

14      somebody else's gun.      The problem is, at the risk of

15      repeating myself, he says over and over and over on those

16      tapes:   "It's my money.     It's my money," which "money" is

17      "gun."   "It's my gun."     If he was trying to get rid of

18      somebody else's gun, number one, why would he even bother,

19      but number two, he wouldn't -- knowing he's on a recorded

20      jail phone, he wouldn't in reference to somebody else's gun

21      say, "It's my gun."      It just didn't make sense.

22                  Then doing his job to try to negate the

23      confession, he suggests, well, maybe the officers

24      intimidated him.     Well, I mean, you heard that call.         It's a

25      long call -- or recorded interview.        It's a long interview.



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 1      They're very polite.     They read him his rights at the

 2      beginning.    They make sure he wants to talk to them right

 3      then.   You know, they thought he might have just woken up.

 4      They make sure he's okay, they read him his rights, they let

 5      him tell his whole story about how he claims the shooting

 6      went down that day, and then at the end they ask him if he

 7      wants to talk about the gun.       I mean that's almost -- in a

 8      way it's almost an afterthought, because they already knew

 9      from listening to the jail calls that it was his gun and

10      they knew that going in.      But they ask him about the gun.

11      They didn't browbeat him, they didn't twist his arm, they

12      let him talk, and he said the things he said.         There's no

13      intimidation, there's no coercion.

14                   And the reason Mr. Pate confessed to the gun is

15      because he knew they found the gun.        All he wanted to try to

16      beat was the aggravated assault and that's why he kept

17      saying over and over again, you know, "I didn't shoot.          If I

18      could have gotten to it, I would've, but I didn't have it on

19      me," because he's trying to beat the aggravated assault.           He

20      knows he's done on the felon in possession.         He doesn't even

21      fight with them on that.      And that's all he's charged with

22      here.

23                   So, there's all this talk about there should have

24      been more forensics to try to prove up an aggravated assault

25      case, but we're not here on an aggravated assault case.



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 1      We're here on a felon in possession.        And they did the

 2      forensics.    They sent the gun in for fingerprint testing.

 3      There weren't any prints on it, only unidentifiable smudges.

 4      They sent it in for DNA testing.       There was no useable DNA

 5      on it.     Well, why weren't there any prints on it?       Well, two

 6      reasons.    One, Mr. Pate had those gloves, and when you go

 7      out to do a shooting, you're going to wear gloves.          You

 8      don't want to leave prints on your gun.

 9                   Plus, when he got to XXX XXXXXXXX, where did he go

10      to hide this gun?     You think it's just a coincidence he hid

11      it in the bathroom?     No, he went to the bathroom for a

12      reason, because when you're in the bathroom, you can take

13      any empty casings and you can flush them down the toilet so

14      they won't be found, because casings, as the expert said,

15      can tie you to a crime scene.       And if you're in a bathroom

16      and if you're worried about having gunshot residue on your

17      hands, you can wash up.      In a bathroom you got a towel.       You

18      can wipe that gun clean.      And that's what Pate says on the

19      recorded call to Vanessa.      He says, "My prints won't be on

20      it.   It's clean."    How does he know it's clean?       He cleaned

21      it.

22                   And most fundamentally, if it's not his gun, how

23      does he know it's hidden in the clothes hamper?          He knows

24      it's hidden in the clothes hamper because he cleaned it off

25      and he put it in the clothes hamper.



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 1                  So, I mean, we're accused of giving up on proving

 2      something we told you at the beginning we weren't even going

 3      to try to prove.     We don't have the burden of proving that.

 4      We brought out evidence about that shooting incident to give

 5      you background and context and to explain what was going on

 6      that day, but I told you from day one, you know, this is

 7      felon in possession.     That's the only thing we have to

 8      prove, and we have proven that.

 9                  As far as the hoodie behind the couch, again, it's

10      not something we have to prove, but we brought that out not

11      to prejudice Mr. Pate, but because Geovanny said there were

12      two men wearing hoodies that were shooting at another man.

13      And you go over to XXX XXXXXXXX and what do you find?           You

14      find one man in the car that's still running, Mr. Paxton,

15      still wearing his black hoodie.       You find Mr. Pate, who's

16      running into XXX XXXXXXXX.      At some point -- again, this is

17      nothing you have to decide, but at some point it appears

18      like he took off his black hoodie, hid it behind the couch,

19      and then he changed his appearance and he thinks he's going

20      to get away with it.     That's evidence you can think about,

21      but it has nothing to do with whether or not we've proven

22      felon in possession of a firearm.

23                  And this thing about Morgan, I showed you this

24      transcript before.     This is the one where he's talking to --

25      Lewis Pate is talking to his brother Chris, and he says:



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 1      "Grab, grab my li'l change, man.       Put that shit up, and ask

 2      Morgan where that other shit at."       Well, what was found in

 3      Morgan's bedroom?     Shotgun shells.     He's not charged with

 4      shotgun shells, we don't have to prove that those were his

 5      shotgun shells, but it's a little bit funny that he's asking

 6      his brother to check with Morgan to find out about that

 7      other shit.

 8                  So, when we talk about reasonable doubt, we talk

 9      about the same standard of proof that is used in every

10      courtroom across the country and has been used across the

11      country for over 200 years.      It's the same standard that

12      every jury in your position has to apply and it's a very

13      simple standard.     It is not -- the judge will tell you it's

14      not beyond all possible doubt.       It's not the mere

15      possibility of innocence.      Let me repeat that.     It's not the

16      mere possibility of innocence.       The test is reasonable

17      doubt, and reasonable doubt is a doubt based upon reason and

18      common sense.

19                  So I'm suggesting to you that when you go back to

20      the jury room you take with you all the exhibits, although

21      my guess is the judge probably will not have the bullets go

22      back, at least not at the same time as the gun is back

23      there, so don't worry about that.       But you take back all the

24      exhibits, you take your memory of the testimony, but the

25      most important thing you take with you is your good common



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 1      sense, and if your common sense tells you, yes, Mr. Pate

 2      possessed that gun on the day in question, then your verdict

 3      must be guilty.

 4                  Thank you.

 5                  THE COURT:   Thank you.

 6                  We will take a five-minute recess before my final

 7      instructions to you.     Court will be in recess for five

 8      minutes.

 9            (Recess taken at 11:18 a.m.)

10                                       * * * * *

11            (11:27 a.m.)

12                                   IN OPEN COURT

13                  THE COURT:   Good morning again.      Please be seated.

14                  The courtroom is locked during the giving of jury

15      instructions, so if either spectator thinks they need to

16      leave in the next 20 minutes or so, you should leave now or

17      you'll be stuck.

18                        COURT'S INSTRUCTIONS TO THE JURY

19                  THE COURT:   Members of the Jury:

20                  Now that you have heard all of the evidence to be

21      received in this case and the arguments of counsel, it

22      becomes my duty to give you the final instructions of the

23      Court as to the law which is applicable to this case and

24      which should guide you in your decisions.

25                  All of the instructions given to you by the



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 1      Court -- those I gave you at the beginning of the trial,

 2      those I gave you during the trial itself, and this final set

 3      of instructions -- must guide and govern your deliberations.

 4      This set of instructions I am about to give you are in

 5      writing and will be available to you in the jury room, so

 6      you really don't need to take any notes, but if you want to,

 7      of course you can.     I want to emphasize, though, that just

 8      because they are in writing doesn't mean that they are any

 9      more important than my earlier instructions.         Again, all

10      instructions, whether or not given to you in writing, must

11      be followed by the jury.

12                  Now, it is your duty as jurors to follow the law

13      as stated in these instructions of the Court and to apply

14      the rules of law to the facts as you find them from the

15      evidence which was received during the trial.

16                  The lawyers have quite properly referred to some

17      of the applicable rules of law in their closing arguments to

18      you, but if there's any difference that appears to you

19      between the law as stated to you by counsel and that I'm

20      giving you, you are of course to be governed by the Court's

21      instructions.

22                  You are also not to single out any one instruction

23      alone as stating the law, but you should consider these

24      instructions as a whole in reaching your decision.

25                  You are also not to be concerned with the wisdom



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 1      of any rule of law stated by the Court.        Regardless of any

 2      opinion you might have as to what the law ought to be, it

 3      would be a violation of your sworn duty to base your verdict

 4      upon any view or opinion of the law other than that given in

 5      these instructions of the Court, just as it would be a

 6      violation of your sworn duty as judges of the facts to base

 7      your verdict upon anything other than the evidence received

 8      in the case.

 9                  You were chosen as jurors for this trial in order

10      to evaluate all of the evidence received and to decide the

11      factual questions presented by the allegations brought by

12      the Government in the indictment and the plea of not guilty

13      by Lewis Pate.

14                  In deciding the issues presented to you for

15      decision in this trial, you must not be persuaded by any

16      bias, prejudice, or sympathy for or against any of the

17      parties to this case or by any public opinion.

18                  Justice through trial by jury depends upon the

19      willingness of each individual juror to seek the truth from

20      the same evidence presented to all of the jurors here in the

21      courtroom and to arrive at a verdict by applying the same

22      rules of law as being given to each of you in these

23      instructions of the Court.

24                  Now, there is nothing particularly different in

25      the way that a juror should consider the evidence in a trial



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 1      from that in which any reasonable and careful person would

 2      treat any very important question that must be resolved by

 3      examining facts, opinions, and evidence.         You are expected

 4      to use your good sense in considering and evaluating the

 5      evidence in the case for only those purposes for which it

 6      was received and to give the evidence a reasonable and fair

 7      construction in light of your own common knowledge of the

 8      natural tendencies and inclinations of human beings.

 9                  If Lewis Pate be proved guilty beyond a reasonable

10      doubt, say so.     If not proved guilty beyond a reasonable

11      doubt, say so.

12                  Keep constantly in mind that it would be a

13      violation of your sworn duty to base a verdict upon anything

14      other than the evidence which was received in this case and

15      the instructions of the Court.       Remember as well that the

16      law never imposes upon the defendant in a criminal case the

17      burden or duty of calling any witnesses or producing any

18      evidence, because the burden of proving guilt beyond a

19      reasonable doubt is always assumed by the Government.

20                  Now, you have been allowed to take notes during

21      the course of the trial and I've noticed that many of you

22      have, and you may take your notes with you to the jury room.

23      But you should not consider your notes as binding or

24      conclusive, whether they are your notes or those of a fellow

25      juror.   Your notes should be used as an aid for your memory,



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 1      not a substitute for your memory.       You should not give

 2      greater weight to a particular bit of evidence solely

 3      because you or someone chose to reduce it to writing.           I

 4      want to make clear to you that it's your recollection of the

 5      evidence which should control, and you should disregard

 6      anything contrary to your own recollection which might

 7      appear in either your notes or those of one of your fellow

 8      jurors.

 9                  The evidence in this case consists of the sworn

10      testimony of the witnesses, regardless of who may have

11      called those witnesses, all of the exhibits which were

12      received in evidence, regardless of who may have produced

13      the exhibit, and all facts which have been admitted to or

14      stipulated to.

15                  When attorneys on both sides stipulate or agree as

16      to the existence of a fact, you may accept that stipulation

17      as evidence and regard that particular fact as having been

18      proved.   You are not required to do so, however, since you,

19      again, as the jury are the sole judges of the facts.

20                  Any proposed testimony or proposed exhibits to

21      which an objection was sustained by the Court and any

22      testimony or exhibit stricken by the Court must be entirely

23      disregarded by the jury.

24                  And also, anything you may have heard or seen

25      elsewhere outside of this courtroom about the case is not



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 1      proper evidence and it too must be entirely disregarded.

 2                   The questions, objections, statements, and even

 3      the arguments of counsel are not the evidence in this case,

 4      and you must base your base your verdict upon only the

 5      evidence received in the case.       In your consideration of the

 6      evidence which was received, however, you are not limited to

 7      the bald statements of the witnesses or the bald assertions

 8      in the exhibits.     In other words, you are not limited solely

 9      to what you see and hear as the witnesses testify or the

10      exhibits are admitted.      You are permitted to draw from the

11      facts which you find to have been proved such reasonable

12      inferences as you feel are justified in light of your own

13      experience and common sense.

14                   Inferences are simply deductions or conclusions

15      which reason and common sense lead the jury to draw from the

16      evidence received in the case.

17                   Now, there are two types of evidence which are

18      generally present during the course of the trial.          One of

19      those is called direct evidence and the other is known as

20      circumstantial evidence.      Direct evidence is the testimony

21      of a person who asserts or claims to have actual knowledge

22      of a fact.    Sometimes we call these eyewitnesses.

23      Circumstance evidence, on the other hand, is proof of a

24      chain of facts and circumstances indicating the existence of

25      a fact.   The law makes absolutely no distinction between the



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 1      weight or the value to be given to direct or circumstantial

 2      evidence.    Nor is a greater degree of certainty required of

 3      circumstantial evidence than of direct evidence.          You should

 4      weigh all of the evidence in the case, and after weighing

 5      all the evidence, if you are not convinced of the guilt of

 6      Lewis Pate beyond a reasonable doubt, you must find him not

 7      guilty.

 8                  If any reference by counsel to matters of

 9      testimony or exhibits does not coincide with your own

10      recollection of the evidence, it is your recollection which

11      should control during the deliberations and, again, not the

12      statements of counsel, because you, as I've told you several

13      times now, are the sole judges of the facts in this case.

14                  The questions asked by a lawyer for either party

15      to this case are also not evidence.        If a lawyer asks a

16      question of a witness which contains an assertion of fact,

17      therefore, you may not consider the assertion by the lawyer

18      as any evidence of that fact.       Another way of saying this

19      would be only the answers are evidence.

20                  There have been some charts or summaries which

21      have been prepared by the parties, have been submitted into

22      evidence and were discussed during the trial, and they've

23      been shown to you during the trial for the purpose of

24      explaining facts that are allegedly included in books,

25      records, or other documents which are also in evidence in



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 1      this case.    You may consider any charts or summaries as you

 2      would any other evidence admitted during the trial and give

 3      them such weight or importance, if any, that you feel they

 4      deserve.

 5                   You, as the jury, are the sole and exclusive

 6      judges of the credibility of each of the witnesses called to

 7      testify in this case and only you determine the importance

 8      or the weight that their testimony deserves.         After making

 9      your assessment concerning the credibility of a witness, you

10      may decide to believe all of that witness's testimony, only

11      a portion of it, or none of it.

12                   In making your assessment, you should carefully

13      scrutinize all of the testimony given, the circumstances

14      under which each witness has testified, and every matter in

15      evidence which tends to show whether a witness, in your

16      opinion, is worthy of belief.       Consider each witness's

17      intelligence, motive to falsify, state of mind, and

18      appearance and manner while on the witness stand.          Consider

19      also the witness's ability to observe the matters as to

20      which he or she has testified and whether he or she

21      impresses you as having an accurate memory or recollection

22      of these matters.     Consider also any relation a witness may

23      bear to either side of the case, the manner in which each

24      witness might be affected by your verdict, and the extent to

25      which, if at all, each witness is either supported by or



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 1      contradicted by other evidence in the case.

 2                  Now, inconsistencies or discrepancies in the

 3      testimony of a witness or between the testimony of different

 4      witnesses may or may not cause you to disbelieve or

 5      discredit such testimony.      Two or more persons witnessing an

 6      incident or a transaction may simply hear or see it

 7      differently.    Innocent misrecollection, just like failure of

 8      recollection, is not an uncommon experience.         In weighing

 9      the effect of a discrepancy, however, always consider

10      whether it pertains to a matter of importance or an

11      insignificant detail and consider whether that discrepancy

12      results from an innocent error or an intentional falsehood.

13                  After making your own judgment or assessment

14      concerning the believability of a witness, you can then

15      attach such importance or weight to that testimony, if any,

16      that you feel it deserves.      You will then be in a position

17      to decide whether or not the Government has proven the

18      charge beyond a reasonable doubt.

19                  You have heard during the course of this trial the

20      testimony of several law enforcement officers.         The fact

21      that a witness may be employed as a policeman or law

22      enforcement officer does not mean that that testimony is

23      necessarily deserving of more or less consideration or

24      greater or lesser weight than the testimony of an ordinary

25      witness.



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 1                  At the same time, it is quite legitimate for

 2      defense counsel to try to attack the credibility of a law

 3      enforcement witness on the grounds that his testimony may be

 4      colored by a personal or professional interest in the

 5      outcome of the case.

 6                  It is your decision, after reviewing all of the

 7      evidence, whether to accept the testimony of a law

 8      enforcement witness and to give to that testimony whatever

 9      weight, if any, you find it deserves.

10                  The testimony of a witness may be discredited or,

11      as we sometimes say, impeached, by showing that that witness

12      previously made statements which are different than or

13      inconsistent with that testimony here in court.          The earlier

14      inconsistent or contradictory statements are admissible only

15      to discredit or impeach the credibility of the witness, and

16      not to establish the truth of these earlier statements made

17      somewhere other than here during this trial.         It is the

18      province of the jury to determine the credibility of a

19      witness who has made prior inconsistent or contradictory

20      statements.

21                  If a person is shown to have knowingly testified

22      falsely concerning any important or material matter, you

23      obviously have a right to distrust the testimony of such an

24      individual concerning other matters.        You may reject all of

25      the testimony of that witness or you may give it such weight



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 1      or credibility as you think it deserves.

 2                  Your decision on the facts of this case should not

 3      be determined by the number of witnesses testifying for or

 4      against a party.     You should consider all of the facts and

 5      circumstances in evidence to determine which of the

 6      witnesses you choose to believe or not believe.          You may

 7      find that the testimony of a smaller number of witnesses on

 8      one side is more credible than the testimony of a greater

 9      number of witnesses on the other side.

10                  The defendant in a criminal case has an absolute

11      right under our Constitution not to testify.

12                  The fact that Lewis Pate did not testify may not

13      be discussed or considered by the jury in any way when

14      deliberating and arriving at your verdict.         No inference of

15      any kind may be drawn from the fact that a defendant decided

16      to exercise his privilege under the Constitution and did not

17      testify.

18                  As stated before, the law never imposes upon a

19      defendant in a criminal case the burden or duty of calling

20      any witnesses or producing any evidence.

21                  The rules of evidence ordinarily do not permit

22      witnesses to testify as to their own opinions or their own

23      conclusions about the issues in this case, but there is an

24      exception to this rule for witnesses who are described as

25      expert witnesses.     An expert witness is someone who, by



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 1      education and experience, may have become knowledgeable in

 2      some technical, scientific, or specialized area.          If such

 3      knowledge or experience may be of assistance to you in

 4      understanding some of the evidence or in determining a fact,

 5      an expert witness in that area may state an opinion as to

 6      relevant and material matter in which he or she claims to be

 7      an expert.

 8                   You should consider each expert opinion received

 9      in evidence in this case and give it such weight as you

10      think it deserves.     You should consider the testimony of

11      expert witnesses just as you would consider the testimony of

12      other witnesses and other evidence in the case.          If you

13      should decide that the opinion of an expert witness is not

14      based upon sufficient education or experience, or if you

15      should conclude that the reasons given in support of the

16      expert opinion are not sound, or if you should conclude that

17      the expert opinion is outweighed by other evidence,

18      including that of other expert witnesses, you may disregard

19      the opinion in part or in its entirety.

20                   As I have told you several times, you are the sole

21      judges of the facts in this case.

22                   Now, Lewis Pate is not on trial for any acts or

23      crimes which are not specifically alleged in the indictment.

24      Nor may a defendant be convicted of the crime charged even

25      if you were to find that he committed other crimes.



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 1                  The indictment in this case charges that

 2      Lewis Pate committed the crime of being a felon in

 3      possession of a firearm.      As you know, Mr. Pate has pled not

 4      guilty to that charge.

 5                  As I told you at the beginning of the trial, an

 6      indictment is simply an accusation.        It is not evidence of

 7      anything.     To the contrary, Lewis Pate is presumed to be

 8      innocent.     Thus Lewis Pate, even though charged, began the

 9      trial with no evidence against him and the presumption of

10      innocence alone is sufficient to find Lewis Pate not guilty

11      and can be overcome only if the Government proves, beyond a

12      reasonable doubt, each essential element of the crime

13      charged.

14                  Again, there is no burden upon a defendant to

15      prove that he is innocent.

16                  I instruct you that you must presume Lewis Pate to

17      be innocent of the crime charged.       Thus Lewis Pate, although

18      accused of crimes in the indictment, began the trial with a

19      clean slate -- that is, with no evidence against him.           The

20      indictment is not evidence of anything and the law permits

21      nothing but legal evidence presented before the jury here in

22      court to be considered in support of any charge against

23      Lewis Pate.    The presumption of innocence alone therefore is

24      sufficient to acquit the defendant.

25                  The burden is always upon the prosecution to prove



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 1      guilt beyond a reasonable doubt.       This burden never shifts

 2      to a defendant, for the law never imposes upon a defendant

 3      in a criminal case the burden or duty of calling any

 4      witnesses or producing any evidence.        The defendant is not

 5      even obligated to produce any evidence by cross-examining

 6      the witnesses for the Government.

 7                   Now, it is not required that the Government prove

 8      guilt beyond all possible doubt.       The test is one of

 9      reasonable doubt.     A reasonable doubt is a doubt based upon

10      reason and common sense, and not the mere possibility of

11      innocence.    A reasonable doubt is the kind of doubt that

12      would make a reasonable person hesitate to act.          Proof

13      beyond a reasonable doubt must, therefore, be proof of such

14      a convincing character that a reasonable person would not

15      hesitate to act and rely upon it in the most important of

16      his or her own affairs.

17                   Unless the Government proves, beyond a reasonable

18      doubt, that the defendant has committed each and every

19      element of the crime charged in the indictment, you must

20      find Lewis Pate not guilty of that offense.         If the jury

21      after careful and impartial consideration of all of the

22      evidence in this case views the evidence as reasonably

23      permitting either of two conclusions -- one of not guilty

24      and the other of guilty -- the jury must, of course, adopt

25      the conclusion of not guilty.



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 1                   I'm going to read you once again the indictment in

 2      this case.    It reads as follows:

 3                   The United States Grand Jury charges that on or

 4      about March 20, 2012, in the State and District of

 5      Minnesota, the defendant, Lewis Pate, having previously been

 6      convicted of one or more crimes punishable by imprisonment

 7      for a term exceeding one year, knowingly possessed in and

 8      affecting interstate commerce a firearm, namely an Enfield

 9      Model 2, Mark 1 .38 caliber revolver, in violation of Title

10      18, United States Code, Section 922(g)(1) and 924(e).

11                   Title 18, United States Code, Section 922(g),

12      provides in relevant part:      "It shall be unlawful for any

13      person who has been convicted in any court, of a crime

14      punishable by imprisonment for a term exceeding one year,

15      to possess in or affecting commerce, any firearm."

16                   It is a crime for a felon to possess a firearm, as

17      charged in Count 1 the indictment.        This crime has three

18      elements, which are:

19                   One, the defendant had been convicted of a crime

20      punishable by imprisonment for more than one year;

21                   Two, after that, the defendant knowingly possessed

22      a firearm, that is, an Enfield Model 2, Mark 1 .38 caliber

23      revolver; and

24                   Three, the firearm was transported across a state

25      or international line at some time during or before the



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 1      defendant's possession of it.

 2                   You are instructed that the Government and

 3      Lewis Pate have agreed that Lewis Pate has been convicted of

 4      a crime punishable by imprisonment for more than one year

 5      under the laws of Minnesota, and you must consider the first

 6      element as having been proven.

 7                   If you have found beyond a reasonable doubt that

 8      the firearm in question was manufactured in a state or

 9      country other than Minnesota, and that the defendant

10      possessed that firearm in the state of Minnesota, then you

11      may, but are not required to, find that it was transported

12      across a state line.

13                   The term "firearm" means any weapon (including a

14      starter gun) which will or is designed to or may be readily

15      converted to expel a projectile by the action of an

16      explosive.

17                   If all of these elements have been proved beyond a

18      reasonable doubt as to Lewis Pate, then you must find

19      Lewis Pate guilty of the crime charged under Count 1 of the

20      indictment; otherwise, you must find Lewis Pate not guilty

21      of this offense.

22                   Now, the law recognizes several kinds of

23      possession.    A person may have actual possession or

24      constructive possession.      A person may also have sole

25      possession or joint possession.



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 1                  A person who knowingly has direct physical control

 2      over a thing, at a given time, is then in actual possession

 3      of it.

 4                  A person who, although not in actual possession,

 5      has both the power and the intention at a given time to

 6      exercise dominion or control over a thing, either directly

 7      or through another person or persons, is then in

 8      constructive possession of it.

 9                  If one person alone has actual or constructive

10      possession of a thing, possession is sole.         If two or more

11      persons share actual or constructive possession of a thing,

12      possession is joint.

13                  Whenever the word "possession" has been used in

14      these instructions, it includes actual as well as

15      constructive motion, and also sole as well as joint

16      possession.

17                  The indictment charges, as you may have heard,

18      that the offense was committed "on or about" a certain date.

19                  Although it is necessary for the Government to

20      prove beyond a reasonable doubt that the offense was

21      committed on a date reasonably near the date alleged in the

22      indictment, it is not necessary for the Government to prove

23      that the offense was committed precisely on the date

24      charged.

25                  Upon next retiring to your jury room to begin your



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 1      deliberations, you should select one of your members to act

 2      as your presiding juror.      The presiding juror will preside

 3      over your deliberations and will become your spokesperson

 4      here in court.

 5                  Now, your verdict must represent the collective

 6      judgment of the jury.      In order to return a verdict, it is

 7      necessary that each juror agree to it.        In other words, your

 8      verdict must be unanimous.

 9                  It is your duty as jurors to consult with one

10      another and to deliberate with one another with a view

11      towards reaching an agreement if you can do so without

12      violence to your own individual judgment.         Each of you must

13      decide the case for himself or herself, but only after an

14      impartial consideration of the evidence in the case with

15      your fellow jurors.     In the course of your deliberations, do

16      not hesitate to reexamine your own views and change your

17      opinion if convinced that it is erroneous.         On the other

18      hand, do not surrender your honest conviction solely because

19      of the opinion of your fellow jurors or for the mere purpose

20      of returning a verdict.

21                  Remember at all times that you are not partisans,

22      you are judges, judges of the facts of this case, and your

23      sole interest should be to seek the truth from the evidence

24      received during the trial.

25                  Your verdict, again, must be based solely upon the



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 1      evidence received in the case.       Nothing you have seen or

 2      read outside of court may be considered.         Nothing that I

 3      have said or done during the course of this trial is

 4      intended in any way to somehow suggest to you what I think

 5      your verdict should be.      Nothing said in these instructions

 6      and nothing in any form of verdict prepared for your

 7      convenience is to suggest or convey to you in any way or in

 8      any manner any intimation as to what verdict I think you

 9      should return, because, of course, what the verdict shall be

10      is the exclusive duty and responsibility of the jury.           As I

11      have told you many, many times, you are the sole judges of

12      the facts.

13                   Now, the punishment provided by law for the

14      offense charged in this indictment is a matter exclusively

15      within the province of the Court and should never be

16      considered by the jury in any way in arriving at an

17      impartial verdict as to the offense charged.

18                   We have prepared a form of verdict for your

19      convenience and I'll read it to you.        It's very

20      straightforward and simple.      It has the case caption on it.

21                   "United States District Court, District of

22      Minnesota.

23                   "United States of America, Plaintiff, versus

24      Lewis Pate, Defendant."

25                   It has the case criminal number and my initials as



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 1      having been the judge assigned to the case.

 2                  And I'm looking at the wrong form, but it begins

 3      the same way.    It reads:

 4                  "We, the Jury in the above-titled matter, find the

 5      Defendant, Lewis Pate" -- and you'll write either the words

 6      "Not Guilty" or the word "Guilty" -- "of the crime charged

 7      in Count One of the Indictment.

 8                  And it has a signature block for your presiding

 9      juror and a place to date the verdict.

10                  You will take the form with you to the jury room

11      and, when you have reached a unanimous agreement as to your

12      verdict, you should have your presiding juror write your

13      verdict, fill in the blanks, sign and date the form, and

14      return with your verdict to the courtroom.

15                  If for some reason it becomes necessary during

16      your deliberations to communicate with the Court, you may do

17      so by means of a note, signed by your presiding juror or by

18      one or more members of the jury, through the court security

19      officer.    No member of the jury should ever attempt to

20      communicate with the Court by any means other than a signed

21      writing, and the Court will never communicate with any

22      member of the jury on any subject which touches the merits

23      of the case other than in writing or orally here in open

24      court.

25                  You will note from the oath about to be taken by



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 1      the court security officers that they too, as well as all

 2      other persons, are forbidden to communicate in any way or

 3      any manner with any member of the jury which touches upon

 4      the merits of this case.

 5                  Bear in mind you are never to reveal to any

 6      person -- not even to the Court -- how the jury stands,

 7      numerically or otherwise, on the question of whether or not

 8      the Government has sustained its burden of proof until after

 9      you have reached a unanimous verdict.

10                  Members of the Jury, your duty is to both the

11      United States and to Lewis Pate, the defendant.          They each

12      have a right to expect that you will see that justice is

13      done.   Your responsibility must be borne courageously and

14      without fear or favor.      It is not an arbitrary power, but

15      one that must be exercised with fairness, sincere judgment

16      and sound discretion.

17                  The final test of the quality of your service will

18      lie in the verdict which you return to the Court, and not in

19      the opinions any one of you may hold as you retire from this

20      case.   Remember at all times you are not partisans nor

21      advocates but triers of fact.

22                  Counsel, do either of you wish to call to my

23      attention any errors, omissions or corrections given to the

24      jury?

25                  Mr. Paulsen?



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 1                   MR. PAULSEN:   No, your Honor.

 2                   THE COURT:   Mr. Olson?

 3                   MR. OLSON:   No, your Honor.

 4                   THE COURT:   The court security officer will unlock

 5      the courtroom and come forward to be sworn.

 6            (Court security officer sworn by the calendar clerk)

 7                   THE COURT:   All right.   Ms. Landmark and

 8      Ms. Noark, by virtue of your numbers when the jury was

 9      originally selected, you have served as the alternates in

10      this case.    I want to thank you very much for being with us.

11      If we get down below 12, we get into trouble and have to

12      start all over, so I want to thank you.        You've been our

13      safety valves here.

14                   At this time I'm going to ask the two of you to

15      depart.   You can remove any items you have from the jury

16      room and Gertie will bring you back to my chambers.             I have

17      some certificates and want to thank you personally.             So the

18      two of you may depart at this time and you should leave your

19      notebooks in there as well.

20                   Ms. Landmark, you also are an alternate.

21            (Alternate jurors excused)

22                   THE COURT:   We will be sending in with you for

23      your use a copy of my instructions, all of the exhibits

24      which were received in evidence and a copy of the jury

25      verdict form.    As Mr. Paulsen appropriately predicted, I



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 1      don't like you to have both the gun and the bullets for

 2      obvious reasons.     We have the same problems with narcotics

 3      and such in there.     So, I'm going to ask that you take a

 4      quick look.    Let's separate the bullet exhibit out first.

 5      Why don't you take a look at those.        We'll send the gun in

 6      because there was more talk about that, I guess, and you can

 7      have that, but if you want to take a quick look at the

 8      bullets first if you need to see them and pass them out.               If

 9      you need for some reason to have them back later, let the

10      security officer know.      Otherwise, he'll want you to look at

11      that first and hand that exhibit out to we can so we can

12      separate those two.

13                  And then you can get started.      I was going to have

14      you go right away to lunch.      It usually is a good idea for

15      starters, but right at noon is absolutely the worst time to

16      try to get 12 people through the cafeteria downstairs.            So

17      I'm going to suggest that you maybe select your presiding

18      juror and kind of organize your deliberations and then knock

19      on the door.    If it's 1:215 or so, I'll think you'll get

20      through the cafeteria much faster and we will keep you

21      together now until you reach a verdict.

22                  All right.   All rise for the jury.

23                  (Jury excused)

24                  THE COURT:   All right.    Please be seated.        We are

25      outside the presence of the jury.



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 1                  Any matter the Court needs to address at this time

 2      from the Government, Mr. Paulsen?

 3                  MR. PAULSEN:    No.   We have all our exhibits ready,

 4      Mr. Olson's checked them out with me, and maybe should the

 5      bullets go back now before lunch --

 6                  THE COURT:   Yeah, I think the bullets, let's hand

 7      those out, and then Ms. Williamson, if you'll wait around.

 8                  Jay, do you want to grab that exhibit and then

 9      take it back to the CSO so they've got those, as I

10      instructed?

11                  MR. OLSON:   I think I left my exhibit.       I know I

12      had it in my office, so it's not elsewhere.         It must be

13      downstairs.

14                  THE COURT:   Okay.    That was the --

15                  MR. OLSON:   Just the tape exhibit.

16                  THE COURT:   Okay.    If you want to bring that right

17      up, that's fine, and those can go in right after lunch.

18                  MR. PAULSEN:    I have my copy of it.     If you can't

19      find it, we could substitute, but yours has the original

20      sticker on it.

21                  THE COURT:   All right.    And let's see.     You both

22      are in the building, so we know how to locate you and I

23      think that concludes things.

24                  All right.   Court will be in recess.

25            (Jury begins deliberations at 12:04 p.m.)



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 1            (4:30 p.m.)

 2                                 IN OPEN COURT

 3            (Defendant present)

 4                   THE COURT:   The jury should arrive momentarily.

 5            (Jury enters)

 6                   THE COURT:   Good afternoon.    Please be seated.

 7                   Members of the Jury, have you reached your verdict

 8      in this case?

 9                   THE FOREPERSON:   We have.

10                   THE COURT:   Would you give it to the court

11      security officer, please.

12            (Verdict handed to the Court via the court security

13             officer)

14            (Pause - Court is reading)

15                   THE COURT:   Members of the Jury, listen to your

16      verdict as it will be recorded in the official files of the

17      United States District Court.

18                   THE CLERK:   "United States District, District of

19      Minnesota.

20                   "United States of America, Plaintiff, versus Lewis

21      Pate, Defendant.

22                   "Verdict.

23                   "We, the Jury in the above-titled matter, find the

24      Defendant, Lewis Pate, guilty of the crime charged in Count

25      One of the Indictment."



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 1                  Signed by the presiding juror and dated

 2      August 15th, 2012.

 3                  THE COURT:   Mr. Olson, should we poll the jury?

 4                  MR. OLSON:   Yes, Your Honor.

 5                  THE COURT:   Please.

 6                  THE CLERK:   Members of the Jury, please answer yes

 7      or no as I call your name.

 8                  Ms. Herzog, is this your verdict?

 9                  THE JUROR:   Yes.

10                  THE CLERK:   Ms. Dooley, is this your verdict?

11                  THE JUROR:   Yes.

12                  THE CLERK:   Ms. Bloodsaw, is this your verdict?

13                  THE JUROR:   Yes.

14                  THE CLERK:   Ms. Landrum, is this your verdict?

15                  THE JUROR:   Yes.

16                  THE CLERK:   Ms. Zufall, is this your verdict?

17                  THE JUROR:   Yes.

18                  THE CLERK:   Mr. Lillegraven, is this your verdict?

19                  THE JUROR:   Yes.

20                  THE CLERK:   Mr. Manske, is this your verdict?

21                  THE JUROR:   Yes.

22                  THE CLERK:   Ms. Gashaw, is this your verdict?

23                  THE COURT:   Mr. Gashaw.

24                  THE CLERK:   Mr. Gashaw.

25                  THE JUROR:   Yes.



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 1                  THE CLERK:    Ms. Perusse, is this your verdict?

 2                  THE JUROR:    Yes.

 3                  THE CLERK:    Ms. Noble, is this your verdict?

 4                  THE JUROR:    Yes.

 5                  THE CLERK:    Ms. Tilmon, is this your verdict?

 6                  THE JUROR:    Yes.

 7                  THE CLERK:    And Mr. Watschke, is this your

 8      verdict?

 9                  THE JUROR:    Yes.

10                  THE CLERK:    The jury has been polled and they call

11      concur.

12                  THE COURT:    Thank you, Members of the Jury, for

13      your service in this case.       Your task is now completed and

14      you may be excused.      Please follow the court security

15      officer to the jury deliberation room.

16            (Jury excused)

17                  THE COURT:    Please be seated.

18                  The jury has spoken through their verdict.          I'll

19      order that there be a presentence investigation, Mr. Pate.

20      Mr. Smith is the gentleman seated at the second table and

21      he'll make sure that process gets started today.

22                  Anything further from the Government?

23                  MR. PAULSEN:    No, Your Honor.    Should we collect

24      the exhibits after the jury leaves?

25                  THE COURT:    Yes.   Those will be brought to you.



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 1                  Anything further, Mr. Olson?

 2                  MR. OLSON:   No, Your Honor.

 3                  THE COURT:   Court is in recess.

 4           (Proceedings concluded at 4:35 p.m.)

 5                          [ End of trial transcript ]

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         I, TIMOTHY J. WILLETTE, Official Court Reporter

         for the United States District Court, do hereby

         certify that the foregoing pages are a true and

         accurate copy of the transcript originally filed

         on FEBRUARY 17, 2013, incorporating redactions

         requested by AUSA JEFFREY PAULSEN.             Redactions

         appear as "XXXX" in the transcript.




                        /s/ Timothy J. Willette



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